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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                 Plaintiff,

      v.                                  CRIMINAL NO. 1:06CR103
                                               (Judge Keeley)


DEVON JEETER,

                 Defendant.


           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
             RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
            BE ACCEPTED AND SCHEDULING SENTENCING HEARING



      On February 26, 2007, defendant, Devon Jeeter, appeared before

United States Magistrate Judge John S. Kaull and moved this Court

for permission to enter a plea of GUILTY to count five of the

Indictment. The defendant stated that he understood that the

magistrate   judge   is    not   a   United   States   District   Judge,     and

consented to pleading before the magistrate judge.            This Court had

referred the guilty plea to the magistrate judge for the purposes

of   administering   the    allocution    pursuant     to   Federal   Rule    of

Criminal Procedure 11, making a finding as to whether the plea was

knowingly and voluntarily entered, and recommending to this Court

whether the plea should be accepted.

      Based upon the defendant's statements during the plea hearing

and the testimony of Sergeant Brian Purkey, the magistrate judge

found that the defendant was competent to enter a plea, that the

plea was freely and voluntarily given, that the defendant was aware

of the nature of the charges against him and the consequences of
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his plea, and that a factual basis existed for the tendered plea.

On February 28, 2007, the magistrate judge entered an order finding

a factual basis for the plea and recommended that this Court accept

the plea of guilty to count five of the Indictment.

        The magistrate judge also directed the parties to file any

written objections to the report and recommendation within ten (10)

days after service of the report and recommendation. The magistrate

judge further directed that failure to file objections would result

in a waiver of the right to appeal from a judgment of this Court

based on the report and recommendation.

        The parties did not file any objections.           Accordingly, this

Court finds that the magistrate judge's recommendation should be

AFFIRMED and ACCEPTS the plea of guilty to count five of the

Indictment.

        The Court ADJUGES the defendant GUILTY of the crime charged in

count five. Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G.

§     6B1.1(c),    acceptance    of   the   proposed    plea   agreement    and

stipulated addendum to the plea agreement, is DEFERRED until the

Court has received and reviewed the presentence report prepared in

this matter.

        Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:




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     1.     The       Probation     Officer        undertake         a    presentence

investigation of DEVON JEETER and prepare a presentence report for

the Court;
     2.     The Government and the defendant are to provide their

versions of the offense to the Probation Officer by April 27, 2007;

     3.     The    presentence      report    is    to   be    disclosed      to    the

defendant, defense counsel, and the United States on or before

May 29, 2007; however, the Probation Officer is directed not to

disclose     the      sentencing     recommendations          made       pursuant   to

Fed. R. Crim. P. 32(b)(6)(A);

     4.     Counsel shall file WRITTEN OBJECTIONS to the presentence

report    and   may    file   a    SENTENCING      MEMORANDUM        that   evaluates

sentencing factors the parties believe to be relevant under 18

U.S.C. § 3553(a) (including the sentencing range under the advisory

Guidelines) and explains any proposed sentence, on or before
June 12, 2007;

     5.      The Probation Officer shall submit to the Court the

presentence report with addendum on or before June 26, 2007; and

     6.      Sentencing is set for July 6, 2007 at 11:30 a.m.

     7.      The Court remanded the defendant to the custody of the

United States Marshal.

     It is so ORDERED.



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     The Clerk is directed to transmit copies of this Order to

counsel of record, the defendant and all appropriate agencies.

DATED: April 13, 2007


                                   /s/ Irene M. Keeley
                                   IRENE M. KEELEY
                                   UNITED STATES DISTRICT JUDGE




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